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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

JOHN DOE-1 and JANE DOE-2, et al.,

                    Plaintiffs,
v.
                                            Civ. Action No. 24-4566-HB
LEXISNEXIS RISK DATA
MANAGEMENT, LLC et al.,

                    Defendants

            CERTIFICATION OF RAJIV D. PARIKH IN SUPPORT OF
                     ADMISSION PRO HAC VICE

      I, Rajiv D. Parikh, of full age, hereby certify as follows:

      1.     I am an attorney at law of the State of New Jersey and a member of

Pem Law LLP, attorneys for Plaintiff, Atlas Data Privacy Corporation (“Plaintiff”

or “Atlas”) in the above captioned matter. I am admitted to practice in the United

States District Court for the District of New Jersey. I have personal knowledge of

the information provided in this Certification.

      2.     I make this Certification pursuant to Local Civ. R. 101.1(c) in support

of Plaintiff’s Motion for an Order admitting Julia Bront pro hac vice.

      3.     As set forth in the accompanying Certification of Julia Bront, Ms.

Bront is an associate of Boies Schiller Flexner LLP in San Francisco, CA.

      4.     Ms. Bront is an attorney in good standing in the State of California.
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      5.       Plaintiff requested that Ms. Bront be admitted pro hac vice for this

matter. Ms. Bront has particular experience in the relevant area of law and facts in

this matter.

      6.       While now working with Ms. Bront on this matter, I have found her to

be completely professional, diligent and competent, and I have quickly gained a

respect for her and her abilities.

      7.       If Plaintiff’s motion is granted, I will remain actively involved in this

matter as local counsel and will ensure that all papers are prepared, filed, and served

in the manner prescribed by the Local Civil Rules for the District of New Jersey, and

will personally sign all papers such filed and served. In addition, if Plaintiff’s motion

is granted, I or a member of my firm will be present for all court appearances.

      8.       I will be responsible for the conduct of Ms. Bront in this litigation and,

as local counsel, will comply with the requirements of Local Civ. R. 101.1(c).

      9.       If Plaintiff’s motion is granted, I will ensure that Ms. Bront fully

complies with Local Civ. R. 101.1(c) including making the payments required to the

New Jersey Lawyers’ Fund for Client Protection.

      10.      If Plaintiff’s motion is granted, Ms. Bront shall pay $250.00 to the Clerk

of the District Court of New Jersey pursuant to Local Civ. R.101.1(c)(3).

      11.      The within matter is scheduled for argument on Tuesday, December 3,

2024 which is the return date of a motion to dismiss the amended complaint and, as


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such, Plaintiff respectfully requests that this motion to admit Ms. Bront pro hac vice

be heard on short notice prior to the argument or at the Court’s earliest convenience.

      I hereby certify that the foregoing statements made by me are true. I am aware

that if any of the foregoing statements made by me are willfully false, I am subject

to punishment.

                                       _s/ Rajiv D. Parikh_______________
                                       RAJIV D. PARIKH


Date: December 2, 2024




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